              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA,             NO. 1:24-cv-00710-LCB-JLW
STATE OF NORTH CAROLINA,
STATE OF CALIFORNIA, STATE OF         PLAINTIFF STATE OF
COLORADO, STATE OF                    WASHINGTON’S NOTICE OF
CONNECTICUT, STATE OF                 VOLUNTARY DISMISSAL
ILLINOIS, COMMONWEALTH OF             WITHOUT PREJUDICE
MASSACHUSETTS, STATE OF
MINNESOTA, STATE OF OREGON,
STATE OF TENNESSEE, and STATE
OF WASHINGTON,

               Plaintiffs,

  v.

REALPAGE, INC., CAMDEN
PROPERTY TRUST, CORTLAND
MANAGEMENT, LLC, CUSHMAN &
WAKEFIELD, INC., GREYSTAR
REAL ESTATE PARTNERS, LLC,
LIVCOR, LLC, LIVCOR PROPERTY
MANAGEMENT SERVICES, LLC,
PINNACLE PROPERTY
MANAGEMENT SERVICES, LLC, and
WILLOW BRIDGE PROPERTY
COMPANY, LLC,

               Defendants.




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      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff State of

Washington hereby provides notice of voluntary dismissal of its claims without prejudice.

      DATED this 25th day of February 2025.

                                            NICHOLAS W. BROWN
                                            Attorney General

                                            /s/ Brian H. Rowe
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                             CERTIFICATE OF SERVICE

       I hereby declare that on this day I caused the foregoing document to be electronically

filed with the Clerk of the Court using the Court’s CM/ECF system, which will serve a

copy of this document upon all counsel of record.

       I declare under penalty of perjury under the laws of the State of North Carolina and

the United States of America that the foregoing is true and correct.

       DATED this 25th day of February 2025 at Seattle, Washington.

                                              /s/ Brian H. Rowe
                                              BRIAN H. ROWE, WSBA #56817
                                              Assistant Attorney General




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